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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                          WEST PALM BEACH DIVISION

                         CASE NO. 23-80101-CR-CANNON(s)

   UNITED STATES OF AMERICA,

         Plaintiff,

   v.

   DONALD J. TRUMP,
   WALTINE NAUTA, and
   CARLOS DE OLIVEIRA,

         Defendants.
                                      /



                GOVERNMENT’S RESPONSE IN OPPOSITION TO
         DEFENDANT DONALD J. TRUMP’S MOTION TO DISMISS BASED ON
           SPOLIATION OF EVIDENCE IN VIOLATION OF DUE PROCESS
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                                           INTRODUCTION

          Defendant Trump does not offer the Court a single case at any level, at any time, from

   anywhere in the country, in which the disruption of the precise order of documents gathered in the

   execution of a search warrant provided support for a spoliation claim. In the roughly four decades

   since the Supreme Court set the applicable standard, the Eleventh Circuit has never found that a

   defendant’s due process rights were violated by the government’s loss or destruction of evidence.

   Despite this Trump asks this Court not only to be the first to find spoliation on such benign facts,

   but also to employ the most drastic sanction available—dismissal of the superseding indictment.

   His motion is meritless, and the Court should reject it.

          Trump personally chose to keep documents containing some of the nation’s most highly

   guarded secrets in cardboard boxes along with a collection of other personally chosen keepsakes

   of various sizes and shapes from his presidency—newspapers, thank you notes, Christmas

   ornaments, magazines, clothing, and photographs of himself and others. At the end of his

   presidency, he took his cluttered collection of keepsakes to Mar-a-Lago, his personal residence

   and social club, where the boxes traveled from one readily accessible location to another—a public

   ballroom, an office space, a bathroom, and a basement storage room. After they landed in stacks

   in the storage room, several boxes fell and splayed their contents on the floor; and boxes were

   moved to Trump’s residence on more than one occasion so he could review and pick through them.

          Against this backdrop of the haphazard manner in which Trump chose to maintain his

   boxes, he now claims that the precise order of the items within the boxes when they left the White

   House was critical to his defense, and, what’s more, that FBI agents executing the search warrant

   in August 2022 should have known that. But neither the law nor the facts provide any basis

   whatsoever for the Court to find bad faith or spoliation in the unsurprising reality that the order of
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   some of the items may have shifted since then. To the contrary, the FBI agents who conducted the

   search did so professionally, thoroughly, and carefully under challenging circumstances,

   particularly given the cluttered state of the boxes and the substantial volume of highly classified

   documents Trump had retained.

          Importantly, at every stage the agents have maintained the integrity of each container in

   which the evidence was found, that is, box-to-box integrity. As a result, Trump, in fact, has all of

   the evidence he needs to make the arguments he has identified in his motion. For example, he

   suggests (for the first time) that he may wish to argue that the classified documents were buried in

   the boxes and hard to see, or that the placement of classified documents near dated items shows

   that they were placed in the box long ago and may have been forgotten. But because the overall

   contents of each box have not changed, Trump can argue both of those things and has everything

   he needs to do so. Nothing has been lost, much less destroyed, and there has been no bad faith.

          These defenses Trump now puts forth can be added to a list of other evolving, unsupported,

   and inconsistent explanations for his possession of classified documents at Mar-a-Lago. Over

   many months, Trump has claimed, among other things, that he deliberately declassified the

   documents, that the FBI planted them, and that he intentionally selected and sent the documents to

   Mar-a-Lago     as    his   “personal     records.”       See    ECF     No.    327     at   4,    6;

   https://truthsocial.com/@realDonaldTrump/posts/109710600348047764 (Aug. 10, 2022). These

   explanations have nothing to do with the precise order of items within his boxes. And this is

   confirmed by the fact that in the year that has passed since indictment, Trump’s counsel have not

   once asked to review the boxes themselves. Trump did not assert any argument stemming from

   the precise order of the documents until filing this motion in 2024, and yet he claims (ECF No.

   612 at 17) that its importance should have been “manifest” to the FBI filter agents who conducted




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   the search in 2022. The Court should see Trump’s newly invented explanations and his motion

   for what they are—his latest unfounded accusations against law enforcement professionals doing

   their jobs. The Court should deny the motion because it is profoundly flawed on the law as well

   as incomplete and misleading on the facts, which is where the Government begins.

                                          BACKGROUND

   I.     Trump’s Familiarity with His Boxes and the Packout of the White House

          According to several personnel who worked closely with Trump at the White House,

   Trump routinely used cardboard boxes as a storage system for documents he accumulated, and he

   was very familiar with his boxes’ contents. ECF No. 85 ¶ 2, Ex. 1 at ¶ 28, Ex. 2. Trump’s detailed

   familiarity with the contents of the boxes prompted some of his staff to call them the “Beautiful

   Mind” boxes, referring to the film of the same title about genius mathematician John Nash. Ex. 2.

   At the end of his presidency, these boxes that he accumulated and stored in his bedroom and

   elsewhere in the White House residence were shipped to Mar-a-Lago, as were numerous other

   boxes that were packed in connection with the move out of the White House. ECF No. 85 ¶ 25.

   According to staff who were involved in packing those boxes for the move, Trump was personally

   involved in the packing process. Id.

   II.    The Contents of the Boxes Shifted During Moves at Mar-a-Lago

          Because the boxes were a mix of items and contained many small, loose materials and

   papers of various sizes and shapes, items within them necessarily shifted around anytime they were

   moved. Between November 2021 and January 2022, Nauta and Trump Employee 2 brought

   several boxes to Trump’s residence for him to review. Id. ¶ 39. In the midst of that process, on

   December 7, 2021, Nauta found at least four boxes in the storage room that had fallen, with their

   contents strewn on the floor. Ex. 3. Nauta texted Trump Employee 2, “I opened the door and




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   found this,” then attached two photographs he took of the spill. Id.; ECF No. 85 ¶ 32. Trump

   Employee 2 replied, “Oh no oh no,” and “I’m sorry potus had my phone.” Id. One of those boxes

   depicted in the spill photos contained a classified record that the FBI subsequently recovered in

   the storage room from box A-35; that document underlies Count 8 of the superseding indictment.

   See Ex. 4 (depicting box A-35 in the storage room on August 8, 2022, approximately eight months

   after Nauta discovered the spilled boxes depicted in Exhibit 3). On January 15, 2022, before Nauta

   and Trump Employee 2 released the 15 boxes Trump had decided to turn over to the National

   Archives and Records Administration (“NARA”), they consolidated the contents of some boxes.

   Ex. 5. Between May 24 and June 1, 2022, Nauta moved approximately 64 boxes from the storage

   room to Trump’s residence. ECF No. 85 ¶ 59. On May 30, the following text exchange took place

   between Nauta and a Trump family member:

          Trump family member: “Good afternoon Walt, Happy Memorial Day! I saw you
          put boxes to Potus room. Just FYI and I will tell him as well: Not sure how many
          he wants to take on Friday on the plane. We will NOT have a room for them. Plane
          will be full with luggage. Thank you!”

          Nauta: “Good Afternoon Ma’am [Smiley Face Emoji] Thank you so much. I think
          he wanted to pick from them. I don’t imagine him wanting to take the boxes. He
          told me to put them in the room and that he was going to talk to you about them.”

   Id. ¶ 59. On June 2, Nauta and De Oliveira moved approximately 30 boxes from Trump’s

   residence into the storage room. Id. ¶ 62. And on June 2, Trump Attorney 1 reviewed the boxes

   in the storage room, himself searching for documents with classification markings. Id. ¶ 65.

   III.   The Plan to Seize Entire Boxes and the Pre-search Instructions to the Filter Team

          On August 5, 2022, the Government obtained a warrant to search Mar-a-Lago and seize

   classified documents and government records, “along with any containers/boxes (including any

   other contents) in which such documents are located.” See Ex. 1, at Attachment B. As described

   in the search warrant affidavit, id. at ¶¶ 82-84, the FBI planned to use as part of the search protocol


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   a Filter Team 1 whose purpose was to search the premises to identify any potentially attorney-client

   privileged material, so that the agents investigating the case (“Case Team”) would not be exposed

   to potentially privileged documents. On August 7, the day before the search, a DOJ attorney sent

   a memorandum to the FBI, explaining the protocol for the Filter Team. ECF No. 612-1 at USA-

   01291482. Members of the Filter Team received a briefing and a copy of the memorandum before

   the search. Id. According to those instructions, if the Filter Team came across any potentially

   privileged materials, the entire box (or other container) holding those potentially privileged

   materials was to be segregated away from access by any member of the Case Team, and set aside

   for later, more-thorough inspection by filter agents in the Washington Field Office (“WFO”).

   Thus, the warrant and the protocol contemplated two scenarios in which an entire box would be

   seized. First, if the Filter Team encountered potentially privileged material in a box, the Filter

   Team would seize and segregate the box for later inspection. Second, if the Filter Team cleared a

   box—that is, reviewed it and found no privileged materials—it would pass the box to the Case

   Team, who would review the box for documents with classification markings and seize any box

   containing such materials.

          But what if a box contained both potentially privileged material and documents with

   classification markings? In that case, the memo provided particularized instructions as follows:

          If, during the search of the 45 Office, 2 the filter team identifies a document marked
          as classified that is comingled in a container with potentially privileged materials,
          the filter team should document the location of the classified document, photograph
          it and the location where it was found, including with the comingled documents

          1
              The search warrant affidavit refers to this group as the “Privilege Review Team.”
          2
            As reflected in the search warrant affidavit, it was initially contemplated that the Filter
   Team’s searching role would be limited to the 45 Office, as that was where it was reasonably
   expected there might be attorney-client privileged materials. At the search, however, it was
   decided to deploy the Filter Team in all locations searched.



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           and container, and then provide the classified document to the case team so that it
           can be handled appropriately.

   ECF No. 612-1 at USA-01291483. However, during the search at Mar-a-Lago the Filter Team

   never identified a document marked as classified comingled in a container with potentially

   privileged materials. 3

   IV.     Execution of the Search Warrant

           At or about 8:59 a.m. on August 8, 2022, the FBI team entered the Mar-a-Lago premises.

   Ex. 6 at USA-00940244.          At approximately 9:14 a.m., DOJ attorney Bratt attempted

   unsuccessfully to reach Trump Attorney 1 by phone. At approximately 9:36 a.m., Bratt spoke by

   telephone with Trump Attorney 1. At approximately 9:55 a.m., the CCTV servers were turned off

   to prevent recording, at the request of the FBI, out of concern for agent safety. Ex. 7 at USA-

   00813916. At approximately 10:20 a.m., 4 recording resumed, at the direction of Trump attorneys.

   But during the time the recording function was off, the cameras continued to display a live feed,

   and some Trump Organization personnel who had access to the network feed monitored it live.

   Ex. 7 at USA-00813861. At approximately 10:33 a.m., the FBI initiated the search. Ex. 6 at USA-

   00940244. 5



           3
            As discussed below, after the boxes were delivered to Washington, D.C., a filter agent
   from the FBI’s WFO discovered one document with classification markings among the boxes the
   Mar-a-Lago Filter Team had segregated.
           4
           The CCTV footage produced in discovery establishes both the 9:55 a.m. and 10:20 a.m.
   approximate times.
           5
            The Government has produced in discovery evidence that (1) the reason for the FBI’s
   request that CCTV recording be turned off was a concern for agent safety; (2) Trump personnel
   were aware of it; (3) the CCTV cameras continued to broadcast live while recording was
   suspended; and (4) in fact, the CCTV was recording again, at Trump Organization attorneys’
   request, well before the search began. Accordingly, Trump’s suggestion, ECF No. 612 at 12-13,



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          A.      Filter Team Search of the Storage Room.

          Four Filter Team agents were involved in reviewing boxes in the storage room: FBI Special

   Agents 5, 13, 17, and 36 (“FBI ##”). FBI 41 entered the storage room first to confirm that there

   was no potentially privileged material in plain view, which there was not. At that point, a

   photographer took an initial set of photos of the storage room. Exhibit 4 is one of those photos.

   After the initial photos were taken, members of the Evidence Response Team (“ERT”) labeled all

   of the boxes in the storage room with unique identifiers, before a single box was opened. A

   photographer then took photos of the boxes as labeled. Id.

          FBI 5 then joined FBI 36 and the two began the filter review of the storage room boxes,

   and remained in the storage room for that purpose, in part to ensure that Case Team members

   would not be exposed to potentially privileged information. ECF No. 612-11 at USA-01291468.

   The remaining Filter Team agents were working in the 45 Office (discussed below) and came to

   the storage room later. Each of the agents worked on one box at a time and ensured that no

   materials from one box ended up in another box. Id. (FBI 36 ensured that everything from a box

   went back into the same box); id. at USA-01291473 (FBI 5 searched one box at a time and there

   was no chance documents from one box ended up in another); id. at USA-01291472 (FBI 13

   searched one box at a time, and box-to-box integrity was a priority); ECF No. 612-12 at USA-

   01291476 (FBI 17 worked on one box at a time and his/her best recollection is that moving

   documents between boxes did not happen).

          However, once agents saw the state in which Trump kept his boxes, it became apparent

   that maintaining the exact order of all documents and items within the boxes was nigh impossible



   that the FBI’s “efforts to turn off CCTV during the search ... is relevant to the application of the
   good-faith doctrine” is at best disingenuous, and at worst deliberately misleading.



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   given the variety of document shapes and sizes (newspapers, photographs, magazines, loose cards

   and notes, envelopes, etc.), and the presence of other non-documentary items like clothing, framed

   pictures, and other keepsakes.     Despite that, the agents did the best they could under the

   circumstances. See ECF No. 612-11 at USA-01291468; id. at USA-01291473; id. at USA-

   01291472; ECF No. 612-12 at USA-01291476.

          In keeping with the protocol, when any of the Filter Team agents came across a potentially

   privileged document in a box, the entire box was set aside and quarantined from the Case Team.

   At no point did any of the Filter Team agents come across a box that contained both potentially

   privileged documents and documents marked classified, which would have triggered the above-

   referenced instruction in the filter memo. If a box was clear of potentially privileged material, the

   Filter Team released the box to the Case Team for further searching. 6

          It was not the Filter Team’s responsibility to locate documents marked classified, but if

   they came across any during their review for potentially privileged materials, they typically alerted

   the Case Team to make sure any such documents were not missed. The Filter Team agents varied

   in their practice of how they did so. See, e.g., ECF No. 612-11 at USA-01291468 (FBI 36 left the

   document in place, released the box to the Case Team, and sometimes informed them orally that

   material marked classified was in the box), id. at USA-01291472 (FBI 13 believes that s/he

   extracted documents with classified markings s/he found and placed them on top of the stacked

   documents in the box, so that the Case Team could more easily locate them), id. at USA-01291474

   (FBI 5 did his/her best to identify where the documents marked classified were in the box, while




          6
             If a box obviously contained neither potentially privileged material nor any materials
   subject to seizure under the warrant, the box was set to one side in the storage room and not seized
   or further searched.



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   maintaining the order of the documents in the box as best as s/he could). None of the Filter Team

   agents inserted placeholder pages where any documents marked classified were located; that was

   done by the Case Team/ERT.

          Despite the state of the contents of the boxes, documents with classification markings were

   easily noticeable to the Filter Agents. Id. at USA-01291468 (agent “shocked” when saw classified

   material, and “undoubtedly clear” when did so), id. at USA-01291471 (“obvious” that document

   was marked classified), id. at USA-01291474 (“very obvious” when agent found classified).

          The Filter Team set aside six boxes (five from the storage room, and one containing items

   seized from a desk drawer in the 45 Office) that contained potentially privileged material. ECF

   No. 612-1 at USA-01291488. Those boxes were documented separately from the other boxes,

   transported separately to overnight storage in Miami, and flown to Washington in an area of the

   aircraft separate from the other boxes. Id.

          B.      Review of Storage Room Boxes Cleared by the Filter Team.

          Outside the storage room, a team of agents and ERT members set up a workspace to

   conduct substantive review of the boxes that the Filter Team cleared and released to them. Box-

   to-box integrity was preserved during this process, and item order within a box was preserved as

   well as the contents of the box and circumstances would permit. If a team member located a

   document bearing classification markings that was subject to seizure, they removed the document,

   segregated it, recorded the box in which it was found, and replaced it with a placeholder sheet (the

   “initial placeholder sheet”) where the classified document was removed. They used preprinted

   classified cover sheets for the initial placeholder sheets until they ran out of them, having not

   anticipated finding so many classified documents. At that point, the team began using blank sheets

   of paper with handwritten annotations to identify the document. The information generally




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   included the document title, classification level, a description of the subject matter, document

   identification numbers, and/or dates in the document. Some of these descriptions of the documents

   may themselves be classified, or may be classified in conjunction with the classification markings. 7

          As part of the processing of seized documents marked classified, ERT photographed the

   documents (with appropriate cover sheets added by FBI personnel) next to the box in which they

   were located. The photographs attached as Exhibit 8 are examples.

          C.      Search of the 45 Office.

          The 45 Office consisted of the “ante room,” where Trump staff members had desks (Room

   B); Trump’s office (Room C); a closet attached to Trump’s office (Room F); and two bathrooms

   (Rooms D and E). Ex. 9. Entry photos were taken of the ante room, Trump’s office, and both

   bathrooms. Id. Filter Team agents then discovered in the closet a blue, covered, leatherbound box

   full of various papers, including numerous newspapers, newspaper clippings, magazines, note

   cards of various sizes, presidential correspondence, empty folders, and loose cover sheets for

   classified information, as well as documents marked classified. Ex. 10. FBI 13 conducted the

   privilege review of this box, with some brief assistance from FBI 5. ECF No. 612-11 at USA-

   01291471. FBI 13 was careful to return all items to the box after reviewing them, but did not

   maintain the order of the items. Id. at USA-01291472; Ex. 11 at USA-01291691. FBI 13 found

   no potentially privileged materials in the box. ECF No. 612-1 at USA-01291485. After FBI 13

   placed all of the contents of the blue box back in the box, an ERT photographer took photos of the

   blue box with the cover off. Ex. 12. FBI 13 alerted the Case Team that s/he had found documents

   marked classified, and after s/he completed his/her privilege review, two Case Team agents



          7
            On June 20, 2024, the Government produced in classified discovery the initial placeholder
   sheets. See ECF No. 634.



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   reviewed the box and found numerous documents with classification markings, some of which had

   classification cover sheets already attached, as well as loose classification cover sheets. The Case

   Team agents seized the documents marked classified (as well as any cover sheets already attached)

   and segregated them. As they extracted the seized documents, they inserted placeholder sheets

   where they found them.

           D.       Transport of Items to Washington, D.C.

           As previously recounted supra, see ECF No. 522 at 6-7, the FBI flew all of the seized boxes

   to Washington, D.C. the day after the search and brought them to WFO. Shortly thereafter, the

   FBI created an index of the documents with classification markings obtained from Mar-a-Lago,

   listing them by title and assigning an alphabetical code to identify each, starting with “a,” “b,” “c,”

   and so on. 8

           After the boxes were transported to Washington, the filter agents at WFO found a document

   with classification markings (code wwww) in box A-14 before clearing the box for Case Team

   review. Ex. 14. The filter agent removed and segregated the document and memorialized the box

   from which the document was removed, but not its location within the box. Id. The Case Team

   therefore put a placeholder sheet at the top of the box when preparing it for scanning. Document

   wwww underlies Count 4 of the superseding indictment.

           On August 29, 2022, after the filter agents at WFO had completed their more thorough

   privilege review and released box 4 to the Case Team, 9 agents discovered two additional




           8
               Ex. 13 identifies which boxes contained the various alphabetically coded documents.
           9
            Box 4 contained items found in a Trump staffer’s desk in the 45 Office ante room. Those
   materials were seized and boxed by the Filter Team onsite because they contained potentially
   privileged information.



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   documents with classification markings inside (codes zzzz and aaaaa). Neither of these documents

   is charged in the superseding indictment.

          The documents underlying the charges in Counts 1-21 of the superseding indictment were

   found across seven boxes seized during the search, 10 as follows:

     Counts         1, 2, 3      4          5, 6          7             8       9, 10, 11     12-21
      Box              2        A-14        A-16         A-28          A-35       A-42        A-73

   V.     Scanning the Box Contents for the Special Master Litigation

          Several weeks later, the FBI used an outside vendor to scan the contents of the boxes, as

   this Court ordered in Trump v. United States, Case No. 22-81294-CIV-CANNON (Sep. 29, 2022),

   ECF No. 125 at 3. FBI agents were present for the scanning process and ensured that the boxes

   remained secure. ECF No. 612-4. Scanning personnel were instructed to “[s]can all documents

   in the order they appear in the box.” Ex. 15 at USA-01291257. Prior to initiating the scanning

   process, the FBI replaced the initial placeholder sheets with classification cover sheets at the

   appropriate level, with a handwritten notation of the FBI’s alphabetical index code (the “new

   placeholder sheets”). The FBI did this to avoid providing any classified information to uncleared

   parties or scanning classified information to unclassified systems, while still enabling

   identification of the document at issue. When making these substitutions, the FBI was able (with

   one exception not relevant here 11) to ascertain the classified document to which the initial


          10
               The documents underlying Counts 22 through 32 were not recovered during the search.
          11
             The initial placeholder sheets that were put in Box A-15, unlike most of the others,
   included only the classification level and the number of pages. Because of the large number of
   documents with classification markings (32) in box A-15, which were found in a binder of
   information and therefore similar in nature, it was not possible for the FBI to determine from the
   initial placeholder sheets which removed documents corresponded to which classified
   document. In this instance, therefore, the FBI left the initial handwritten placeholder sheets within
   the binder to denote the places within the binder where the documents with classification markings



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   placeholder sheet corresponded, and simply swapped the new placeholder sheet for the initial

   placeholder sheet, in the same spot. See ECF No. 522 at 7.

                                        APPLICABLE LAW

          To establish a due process violation based on the destruction or loss of evidence, a criminal

   defendant must make two showings. See United States v. Wilchcombe, 838 F.3d 1179, 1191-92

   (11th Cir. 2016); United States v. Revolorio-Ramo, 468 F.3d 771, 774 (11th Cir. 2006). First, he

   “‘must show that the evidence was likely to significantly contribute to his defense.’” Wilchcombe,

   838 F.3d at 1191 (quoting Revolorio-Ramo, 468 F.3d at 774). “‘To meet this standard of

   constitutional materiality, evidence must both possess an exculpatory value that was apparent

   before the evidence was destroyed, and be of such a nature that the defendant would be unable to

   obtain comparable evidence by other reasonably available means.’” Revolorio-Ramo, 468 at 774

   (quoting California v. Trombetta, 467 U.S. 479, 489 (1984)); see United States v. Brown, 9 F.3d

   907, 910 (11th Cir. 1993) (per curiam). Evidence fails to meet this constitutional-materiality

   standard if, among other things, it “would have, at best, bolstered an existing argument” that can

   still be presented to the jury through other means, “rather than enabling the defense to present

   argument not otherwise available.” Revolorio-Ramo, 468 F.3d at 774-75.

          Second, “[t]he defendant must also demonstrate that the government acted in bad faith.”

   Wilchcombe, 838 F.3d at 1192; see Illinois v. Fisher, 540 U.S. 544, 547-48 (2004) (per curiam);

   Arizona v. Youngblood, 488 U.S. 51, 58 (1988); United States v. Lanzon, 639 F.3d 1293, 1300-

   1301 (11th Cir. 2011). “[R]equiring a defendant to show bad faith on the part of the police both



   were found. The FBI provided this binder for scanning at the top of the box. In addition, the FBI
   placed in the box 32 new placeholder sheets representing the 32 documents with classification
   markings in the binder. It placed them where the binder was within the box when the investigative
   team obtained it. None of the 32 documents is charged.



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   limits the extent of the police’s obligation to preserve evidence to reasonable bounds and confines

   it to that class of cases where the interests of justice most clearly require it, i.e., those cases in

   which the police themselves by their conduct indicate that the evidence could form a basis for

   exonerating the defendant.” Youngblood, 488 U.S. at 58. “The presence or absence of bad faith

   by the police for purposes of the Due Process Clause must necessarily turn on the police’s

   knowledge of the exculpatory value of the evidence at the time it was lost or destroyed.” Id. at 56

   n.*; see Davis v. Sellers, 940 F.3d 1175, 1189 (11th Cir. 2019).

          Trump resists the applicability of the bad-faith requirement by relying (ECF No. 612 at 14-

   17) on cases involving the failure to disclose material exculpatory evidence under Brady v.

   Maryland, 373 U.S. 83 (1963). To be sure, “the suppression by the prosecution of evidence

   favorable to the accused upon request violates due process where the evidence is material either to

   guilt or to punishment, irrespective of the good faith or bad faith of the prosecution.” Id. at 87.

   But that principle necessarily depends on the court’s ability to confidently evaluate the evidence’s

   materiality, which will rarely if ever be possible with a claim predicated on unpreserved evidence.

   See Trombetta, 467 U.S. at 486 (“Whenever potentially exculpatory evidence is permanently lost,

   courts face the treacherous task of divining the import of materials whose contents are unknown

   and, very often, disputed.”). Here, for example, Trump’s motion makes no claim about what the

   order of documents actually showed, instead relying entirely on speculation of what it might have

   shown. As such, his claim must be analyzed under the Youngblood framework, in which bad faith

   is required. See Wilchcombe, 838 F.3d at 1191-92; Lanzon, 639 F.3d at 1300-01; Revolorio-Ramo,

   468 F.3d at 774; Brown, 9 F.3d at 910; accord United States v. Perry, 92 F.4th 500, 513 (4th Cir.

   2024); United States v. Greenberg, 835 F.3d 295, 303-05 (2d Cir. 2016); McCarthy v. Pollard,

   656 F.3d 478, 485 (7th Cir. 2011). Indeed, the Eleventh Circuit has held that even the lesser




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   remedy of a spoliation instruction requires a showing of bad faith—if such an instruction can ever

   permissibly be given in a criminal case at all, a question that the court has reserved. United States

   v. Fey, 89 F.4th 903, 914 (11th Cir. 2023). It follows that the far more extreme remedies that

   Trump seeks—dismissal and suppression—based on spoliation necessarily require a showing of

   bad faith.

                                             DISCUSSION

          Any defendant claiming a due process violation as a result of alleged spoliation must satisfy

   the substantial burden of showing both constitutional materiality and bad faith. In the roughly four

   decades since Trombetta and Youngblood, the Eleventh Circuit has never found that a defendant’s

   due process rights were violated by the government’s destruction or loss of evidence. 12 Here,

   Trump has failed to make either showing necessary to establish a due process violation, and he

   cites no case finding spoliation in circumstances anywhere close to this case, where nothing has




          12
             See United States v. Gunn, No. 22-11858, 2023 WL 4195675 (11th Cir. June 27, 2023)
   (per curiam); United States v. Confer, No. 20-13890, 2022 WL 951101, at *5 (11th Cir. Mar. 30,
   2022) (per curiam); United States v. Pineda Castro, 795 F. App’x 635, 653 (11th Cir. 2019) (per
   curiam); Davis, 940 F.3d at 1188-89; United States v. Garcia-Solar, 775 F. App’x 523, 531 (11th
   Cir. 2019) (per curiam); United States v. Hernandez, 864 F.3d 1292, 1306-07 (11th Cir. 2017);
   Wilchcombe, 838 F.3d at 1192; United States v. White, 660 F. App’x 779, 783-84 (11th Cir. 2016)
   (per curiam); United States v. Gayle, 608 F. App’x 783, 790 (11th Cir. 2015) (per curiam); United
   States v. Cruz, 508 F. App’x 890, 901 (11th Cir. 2013) (per curiam); Lanzon, 639 F.3d at 1300-
   01; United States v. O’Neil, 436 F. App’x 960, 964 n.2 (11th Cir. 2011); United States v. McCray,
   345 F. App’x 498, 501 (11th Cir. 2009) (per curiam); United States v. Bryant, 334 F. App’x 259,
   264 (11th Cir. 2009) (per curiam); United States v. Derosa, 544 F. App’x 830, 834 (11th Cir. 2013)
   (per curiam); United States v. Price, 298 F. App’x 931, 937 (11th Cir. 2008); United States v. Pina-
   Suarez, 280 F. App’x 813, 819-20 (11th Cir. 2008) (per curiam); United States v. Lindsey, 482
   F.3d 1285, 1293-94 (11th Cir. 2007); United States v. McClymont, 216 F. App’x 968, 970 (11th
   Cir. 2007) (per curiam); Revolorio-Ramo, 468 F.3d at 774-75; United States v. Roberson, 195 F.
   App’x 902, 904 (11th Cir. 2006) (per curiam); Brown, 9 F.3d at 910; James v. Singletary, 957 F.2d
   1562, 1567 n.4 (11th Cir. 1992).



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   been destroyed and the claim is based only on agents not maintaining the precise order of

   documents in a box whose ownership is uncontested.

   I.     Trump Fails to Establish Constitutional Materiality

          The agents’ inability to preserve the precise ordering of the contents found within each box

   does not satisfy the “standard of constitutional materiality,” because (1) the precise ordering of

   contents within a box does not “possess an exculpatory value”; (2) even if it did, that value was

   not “apparent before the evidence was destroyed”; and (3) the evidence was not “of such a nature

   that the defendant would be unable to obtain comparable evidence by other reasonably available

   means.” Revolorio-Ramo, 468 F.3d at 774 (quotation marks omitted).

          A.      Trump Fails to Show that the Exact Ordering of Documents Within Boxes
                  Possessed an Exculpatory Value.

          Trump has not shown that the precise ordering of the documents within a box “was likely

   to significantly contribute to his defense,” Trombetta, 467 U.S. at 488, or that it “possess[ed] an

   exculpatory value.” Revolorio-Ramo, 468 F.3d at 774. Trump’s claim bears no resemblance to

   the paradigmatic cases involving the destruction of evidence. In most cases, the defendant at least

   articulated a theory for how the spoliated or destroyed evidence, if preserved, could have

   exonerated him. See, e.g., Youngblood, 488 U.S. at 55-56 (defendant claimed that “properly

   preserved semen samples could have produced results that might have completely exonerated”

   him); Davis, 940 F.3d at 1187-89 (defendant claimed that forensic evidence that had been

   destroyed, including fingerprint cards, would have “identif[ied] the ‘actual’ murderer”);

   Hernandez, 864 F.3d at 1305-06 (defendant claimed that the Coast Guard sank a boat that, if not

   destroyed, would have shown that defendant was engaged in commercial fishing rather than drug

   trafficking); Revolorio-Ramo, 468 F.3d at 774-75 (similar); Lindsey, 482 F.3d at 1293 & n.8

   (defendant claimed that police destroyed a fingerprint card that “may have provided some



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   exculpatory evidence for the jury to conclude that someone other than Defendant placed the gun

   in the vehicle”).

          Here, by contrast, no physical evidence has been destroyed, and Trump does not and could

   not contend that the precise ordering of documents within boxes that he unquestionably possessed

   and were filled with his belongings could exonerate him. Instead, he appears to offer two theories

   (ECF No. 612 at 16-20) for how the location within a given box of documents with classification

   markings could provide marginal support for a knowledge-based defense at trial. First, he

   speculates (ECF No. 612 at 19-20) that if documents marked classified “were not positioned in

   visible locations at the tops of boxes,” that could support a claim that he may have simply

   overlooked such documents. Second, he suggests (ECF No. 612 at 20) that if documents marked

   classified were found in close proximity to “items such as newspapers and letters dated long

   before” his term of office ended, that could support an inference that he may have placed them in

   boxes years before and therefore forgotten that some of the nation’s most sensitive secrets were in

   the boxes before he sent them to Mar-a-Lago. But any difference in “value” to the defense as a

   result of the Filter Agents’ inability to maintain precise order within a box is only a question of

   degree—and a slight degree at that, because box-to-box integrity has been preserved. 13

          Trump’s filings in the Special Master litigation also undermine the position he takes here.

   There, Trump argued that “personal documents, photographs, and items such as clothing are by

   definition not ‘contraband’ and thus may not be lawfully seized,” Trump v. United States, 9:22-


          13
              Trump also complains, ECF No. 612 at 7 n.4, that the Government has not addressed
   whether the 15 boxes that were returned to NARA are “intact.” As the Government has repeatedly
   advised Trump, those boxes are equally available to him as to the Government. Moreover, Nauta
   and Trump Employee 2’s consolidation of those boxes—after Trump reviewed them but before
   they were released—means that whether they remained “intact” since arriving at NARA is beside
   the point, at least as far as Trump’s claimed knowledge defense is concerned.



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   cv-81294-AMC, ECF No. 1 at 12, and that any such items that were seized must be returned,

   Trump, ECF No. 28 at 8-9. His position there—that the Constitution prohibited agents from

   seizing or retaining any documents not marked classified—cannot be reconciled with his current

   claim that the Constitution required the agents not only to seize all non-classified documents in

   proximity to the classified documents, but to retain them in precisely the intra-box order in which

   they were found. Indeed, if the agents had followed the procedures that Trump claimed at the time

   were constitutionally required—taking only the classified documents and leaving everything else

   behind—there could well be no evidence of which documents were in the same box with a

   particular classified document, much less evidence of whether a particular document or personal

   effect was one inch or two inches away from a classified document.

          The fact is, the Constitution neither requires nor forbids agents to seize documents that are

   in close proximity to evidence falling within the scope of a search warrant, and instead affords a

   “practical margin of flexibility,” United States v. Wuagneux, 683 F.2d 1343, 1349 (11th Cir. 1982),

   to agent decisionmaking, depending on such circumstances as the place to be searched, the crime

   under investigation, and the scope of the warrant. In some cases, for example, agents may choose

   to “remove intact files, books, and folders when a particular document within the file was identified

   as falling within the scope of the warrant,” id. at 1353; see United States v. Smith, 459 F.3d 1276,

   1292-93 (11th Cir. 2006); United States v. Tamura, 694 F.2d 591, 595-96 & n.2 (9th Cir. 1982);

   United States v. Beusch, 596 F.2d 871, 877 (9th Cir. 1979), or may remove materials whose

   evidentiary value can only be ascertained “through the careful analysis and synthesis of a large

   number of documents,” United States v. Schandl, 947 F.2d 462, 465-66 (11th Cir. 1991); see

   Wuagneux, 683 F.2d at 1349. In other cases, by contrast, agents may choose to remove only those

   specific documents that appear on their face to fall within the warrant’s scope or satisfy the plain-




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   view exception to the Fourth Amendment, leaving all other documents behind. See, e.g., United

   States v. Slocum, 708 F.2d 587, 602 (11th Cir. 1983); United States v. Sawyer, 799 F.2d 1494,

   1509 (11th Cir. 1986). Indeed, this latter, more-selective approach is regarded as the “general

   rule” governing the execution of search warrants. Garland v. Maggio, 717 F.2d 199, 206 (5th Cir.

   1983); Tamura, 694 F.2d at 595-96. But because the selective removal of responsive documents

   is at least permitted, and often required, it follows that there is no constitutional rule mandating

   agents to preserve the precise ordering of whatever documents were near the responsive documents

   at the time of the search. Indeed, it is telling that in the hundreds, if not thousands, of cases in

   which agents seize documents under a warrant—sometimes seizing entire files containing

   responsive documents, other times seizing only directly responsive records within those files—

   Trump is unable to cite a single case suggesting that a selective seizure or one in which the order

   of files or documents was to some extent not preserved constituted “spoliation.” 14

          B.      A Defense Focused on Document Order Within a Box Could Not Have Been
                  Apparent to the Filter Team.

          Trump’s claim (ECF No. 612 at 17) that “it was manifest that the location of allegedly

   classified documents within the boxes . . . would play a significant role in [his] defense against

   any future charges” is both conclusory and false. Even if the ordering of documents within a box

   could possess some marginal exculpatory value, that value was hardly “apparent” at the time of


          14
               Trump contends (ECF No. 612 at 18) that there is “tremendous irony” in the
   Government’s citation of Wuagneux during the Special Master litigation. But nothing in
   Wuagneux supports Trump’s position. There, an agent explained that “whole files were kept intact
   so that the agents could identify where individual documents came from and where they belonged
   if, as was occasionally the case, the document was ordered returned to the files after review.” 683
   F.2d at 1353. But nothing in the agent’s testimony or the Eleventh Circuit’s opinion attaches any
   practical or constitutional significance to a document’s precise placement within a file. And such
   a rule would be contrary to the “practical margin of flexibility” that the Eleventh Circuit
   recognizes, id. at 1349.



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   the search. See Revolorio-Ramo, 468 F.3d at 774. Even now, the notion that Trump’s trial defense

   will focus on his supposed ignorance that the boxes seized from Mar-a-Lago contained documents

   marked classified is highly questionable. Throughout this litigation, he has taken positions

   premised on precisely the opposite claim: that he is entitled to dismissal because he made a

   conscious decision as president to designate classified documents as personal records and transfer

   them from the White House to Mar-a-Lago. See ECF No. 324 at 16 (“President Trump’s decision

   to designate records as personal and cause them to be removed from the White House plainly

   constitutes an official act within the ‘outer perimeter’ of the president’s official duties.”); ECF No.

   327 at 6 (“The PRA also precludes judicial review of the President’s recordkeeping practices and

   decisions, including President Trump’s decision to designate materials as Personal Records.”

   (quotation marks omitted).

          And before he latched onto the PRA as a defense, Trump made public statements that he

   had made a decision to declassify the documents, further casting doubt on the viability or

   predictability of a defense that he was ignorant of the boxes’ contents. For example, on August

   12, 2022, four days after the search, Trump posted 15 on Truth Social:

          Number one, it was all declassified. Number two, they didn’t need to “seize”
          anything. They could have had it anytime they wanted without playing politics and
          breaking into Mar-a-Lago.

   Similar statements continued in the weeks that followed. In a September 21, 2022, interview, 16

   Trump stated:

          Trump:          I did declassify.

          Interviewer: OK. Is there a process – what was your process to declassify?


          15
               https://truthsocial.com/@realDonaldTrump/posts/108811278444540886.
          16
               https://www.foxnews.com/video/6312698126112 at 00:16.



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          Trump:         There doesn’t have to be a process, as I understand it. You know,
                         there’s – different people say different things, but as I understand
                         there doesn’t have to be. If you’re the president of the United States,
                         you can declassify just by saying, it’s declassified. Even by thinking
                         about it, because you’re sending it to Mar-a-Lago or to wherever
                         you’re sending it. And there doesn’t have to be a process. There
                         can be a process, but there doesn’t have to be. You’re the president,
                         you make that decision. So when you send it, it’s declassified. We
                         – I declassified everything.

          The undisputed facts further undercut his claim that the precise order of documents had

   material exculpatory value that should have been obvious to the Filter Team. There is no question

   that these were Trump’s boxes, and no one else’s. He collected their contents over time, he decided

   what was to be included, he kept them in his bedroom at the White House, he controlled their

   whereabouts, he helped pack some of them for Mar-a-Lago, he had them delivered to Mar-a-Lago,

   he directed Mar-a-Lago employees in mid-2021 to fix up the storage room so his boxes could be

   moved there, and agents searched them in the basement of his residence. And it is not as though

   agents discovered items in the boxes plainly belonging to someone else. To the contrary, the

   agents found boxes full of keepsakes valuable only to Trump. In short, there is no reason to

   believe—and certainly no reason it should have been apparent to the agents—that Trump might

   claim the precise proximity of one document to another within a given box would be relevant,

   much less crucial, to a trial defense that Trump did not know what was in his boxes, with his other

   belongings.

          Furthermore, this is not a case where reams of identically-sized documents were stacked

   neatly in file folders or redwelds, arrayed perfectly within a box. To anyone other than Trump,

   the boxes had no apparent organization whatsoever. The boxes contained all manner of items,

   including, for example, papers of varying sizes, from folded large-format items to tiny notes;

   clothing; picture frames; shoes; magazines; newspapers; newspaper clippings; correspondence;



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   greeting cards; binders; and Christmas ornaments. The photographs attached as Exhibits 3, 8, and

   16 provide a sense of the variety of items in the boxes. The notion that the precise ordering of

   materials within these boxes possessed any exculpatory value that would be apparent to the Filter

   Team when they opened the boxes is absurd.

          Trump’s arguments in the Special Master litigation also undermine his position on this

   point. There, he argued that “fundamental fairness” required the agents to “identify from what

   locations each box of documents was seized; whether these boxes were at the location or were

   boxes that the agents brought with them and filled; whether other items were contained in those

   boxes; whether confidential labels were based upon labels imprinted on the documents themselves,

   and whether the return label was the result of a review (of presumptively privileged executive

   communications) to make that determination.” Trump, ECF No. 1 at 20. Notably absent from that

   list was any suggestion that fundamental fairness required the agents to preserve the precise order

   of documents within a given box.

          Of course, at trial the Government will bear the burden of proving Trump’s knowledge that

   he possessed the documents with classification markings, and Trump can argue that he lacked such

   knowledge. The point here is simply that in assessing the significance to his defense of the order

   of materials in the boxes, as well as whether any exculpatory value was apparent at the time of the

   search, Trump’s having taken positions in this litigation and made public statements contrary to

   his now-proffered defense weighs against his current claim that the precise order of documents in

   the boxes would have any materiality to his defense, let alone apparent exculpatory value at the

   time of the search.




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           C.      Trump Has Ample Alternative Means to Make the Same Point.

           Just as in Revolorio-Ramo, “[t]his case is not a situation where no evidence” about the state

   of the boxes is available to Trump to support a claim of unwitting possession. 468 F.3d at 774.

   Rather, to the extent that the precise ordering of the specific contents of each box constitutes

   “potentially exculpatory evidence” at all, it is merely evidence that “would have, at best, bolstered

   an existing argument that [can be] presented to the jury through the testimony of [witnesses], rather

   than enabling the defense to present argument not otherwise available.” Id. As such, Trump has

   “reasonably available means” to him of “comparable evidence,” id., precluding a showing of

   constitutional materiality. See Trombetta, 467 U.S. at 490 (“[T]he defendant retains the right to

   cross-examine the law enforcement officer who administered the Intoxilyzer test, and to attempt

   to raise doubts in the mind of the factfinder whether the test was properly administered.”); United

   States v. Taylor, 312 F. Supp. 3d 170, 179 (D.D.C. 2018) (“At most, Taylor has shown that the

   investigation and documentation of what was found was incomplete. That may form a basis for

   cross-examination of the government’s witnesses, but it does not rise to the level of a due process

   violation.”).

           The evidence presented at trial will show that the classified documents charged in the

   superseding indictment were typically interspersed with newspaper clippings, other documents,

   and Trump’s personal effects, in a generally disordered state to anyone other than Trump. Trump

   is free “to cross-examine the law enforcement officers who viewed the contents of the [boxes],”

   Revolorio-Ramo, 468 F.3d at 774-75, and then argue to the jury that, because the classified

   documents may not have been immediately visible upon cursory examination, he might not have

   known they were there. And to the extent a charged document’s location in the same box as

   materials from a given timeframe might enable Trump to argue that such proximity supports an




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   inference that he placed the document into the box at around the same time, forgot about it, and

   therefore did not knowingly possess it at Mar-a-Lago, he remains free and able to do so, because

   box-to-box integrity has been preserved.

   II.    Trump Fails to Show Bad Faith

          Trump also fails to make the requisite showing of bad faith. 17 First, he argues several times

   that the Filter Team violated their instructions during the search at Mar-a-Lago. See, e.g., ECF

   No. 612 at 4, 13, 19, 21. Not so. Trump correctly quotes (ECF No. 612 at 4) the entire instruction

   he claims was violated, but then spends the rest of his brief pretending the phrase triggering the

   instruction (emphasized below) doesn’t exist:

          If, during the search of the 45 Office, the filter team identifies a document
          marked as classified that is comingled in a container with potentially privileged
          materials, the filter team should document the location of the classified document,
          photograph it and the location where it was found, including with the comingled
          documents and container, and then provide the classified document to the case team
          so that it can be handled appropriately.

   As noted supra, during the search at Mar-a-Lago the Filter Team did not identify any document

   marked classified that was comingled in a container with potentially privileged materials. 18


          17
             “[A] showing of bad faith requires the government’s conduct to reach the level of an
   ‘intentional bad faith act.’” United States v. Londono, No. 10-CR-20763, 2018 WL 706761, at *4
   (S.D. Fla. Jan. 10, 2018) (quoting Revolorio-Ramo, 468 F.3d at 775). “A showing of negligence,
   even gross negligence, is insufficient to establish bad faith.” Id. (citing cases). As the Eleventh
   Circuit has explained, “‘bad faith’ ‘is not simply bad judgment or negligence, but rather it implies
   the conscious doing of a wrong because of dishonest purpose or moral obliquity; . . . it
   contemplates a state of mind affirmatively operating with furtive design or ill will.’” United States
   v. Gilbert, 198 F.3d 1293, 1299 (11th Cir. 1999) (quoting Black’s Law Dictionary 139 (6th ed.
   1990)).
          18
              Trump’s mischaracterizations do not end there. He also claims that an August 9, 2022
   email (see ECF No. 612-3) “illustrates” the FBI’s “immediate concern about the Filter Team’s
   failure to follow the instructions regarding documenting the location of seized items.” ECF No.
   612 at 6-7. Of course, the face of the email says nothing of the kind. That is unsurprising, because



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          Similarly, Trump inaccurately criticizes the Filter Team for allegedly “disregarding” the

   order of the documents. ECF No. 612 at 8 (Filter Team “made no effort” to preserve order of

   documents); id. at 10 (“the Filter Team did not even try to preserve the order of the documents”);

   id. at 20 (referring to the Filter Team’s “disregard of the order of the documents during the raid”).

   But as Trump’s exhibits themselves demonstrate, two Filter Team agents stated they kept the box

   contents in order to the best of their ability, one said it was not practical under the circumstances

   to maintain the order, and one said s/he was not focused on maintaining the order, but even if s/he

   had been, it would have been impossible to do so. ECF No. 612-11. That the agents did the best

   they could under the circumstances does not mean that they “made no effort” or “did not even try”

   to preserve the order of documents. Trump has no evidence of bad faith.

   III.   Trump Has Not Identified Any Case Finding a Due Process Violation on Similar Facts

          There does not appear to be any decision—and Trump certainly has not cited one—in

   which a court has ever found a due process violation under circumstances remotely similar to those

   here, where no physical evidence has been destroyed and the defendant’s claim is based on the

   failure to preserve the precise ordering of documents within a container. Trump instead relies

   (ECF No. 612 at 18-21) on a single district court decision in United States v. Soriano, 401 F. Supp.

   3d 396 (E.D.N.Y. 2019), which (unlike in this case) involved the destruction not only of “the bulk




   it has nothing to do with documenting the location of items seized during the August 8
   search. Rather, the email relates to FBI 19 asking FBI 17 to retrieve documents with classification
   markings from a witness who found them at Mar-a-Lago the day after the search. As reflected in
   the email, FBI 5 assisted in doing so. And as Trump knew when he made this allegation, this is
   detailed in a 302 (USA-00828648) from the Government’s first discovery production, indicating
   that FBI 5 and another agent obtained the documents on August 9 and stating where the witness
   had found them. Ex. 17 at USA-00828648.



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   of the relevant evidence,” but the very evidence that spoke most directly to “the only issue for

   trial.” Id. at 404.

           In Soriano, a professional food courier arrived from Mexico with three checked duffle bags

   “filled with various packages containing perishable food items and other non-perishable goods she

   was transporting,” id. at 398. In one of her checked bags, customs officers found two packages

   containing heroin, stored inside a container of mole sauce. Id. Two other packages containing

   heroin were found inside a plastic container of seasoning in her carry-on bag. Id. Upon arrest,

   Soriano claimed in an interview that others had packed the luggage and that she did not check

   inside the bags before departure. Id. After the interview, officers destroyed “all the contents of

   the three checked duffel bags,” and the bags themselves. Id. at 398-99. “The only items the

   officers retained were the contraband, Ms. Soriano’s carry-on bag, one empty plastic container and

   the paperwork recovered from Ms. Soriano’s purse and carry-on bag.” Id. at 399. The officers

   also “did not create an inventory or photograph Ms. Soriano’s luggage as it was originally

   presented for inspection.” Id. As a result, it was impossible to know whether the packages

   containing the contraband would have lent credence to the explanation that she gave the agents

   before the evidence was destroyed. Id. at 404.

           Soriano might bear some relevance to this case if, counterfactually, the FBI had merely

   retained the recovered classified documents, destroyed the boxes themselves and all the other items

   found therein, failed to photograph any of the evidence before it was seized, and failed to inventory

   the destroyed items or to document the box from which each document marked classified was

   recovered. But the FBI did none of that here.

           Moreover, the destruction of evidence in Soriano bore “ample indications of bad faith,” id.

   at 405, including the “complete and immediate destruction of the bulk of the relevant evidence”;




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   approving the destruction immediately after an explanation from the defendant herself that showed

   why the destroyed evidence was valuable to her defense; destroying the evidence in violation of

   agency policy and without notice to the prosecutors; and failing to photograph or otherwise

   document the evidence that was destroyed. Id. at 404-05. 19 Here, by contrast, the agents (1) did

   not destroy anything; (2) reasonably did not expect there to be exculpatory value in the precise

   order of items in boxes; (3) violated no policy or instructions whatsoever in carrying out the search;

   and (4) preserved box-to-box integrity and made reasonable, good-faith efforts to maintain the

   order of the materials within each box to the extent possible. It also speaks volumes that the best

   case Trump can find to reason by analogy that the precise order of his own documents in his own

   boxes matters to his defense is a case involving an alleged drug courier’s luggage and no

   documents whatsoever—let alone the order of the documents. There is no comparison to Soriano,

   and Trump’s reliance on it is unavailing.

   IV.    Trump’s Claims About Discovery Violations Are Meritless

          Trump concludes his motion with a series of baseless attacks on the Government’s

   discovery productions and argues that they are “relevant to all of the bad-faith inquiries” in their

   pretrial motions, including this one. Again, Trump is wrong on the facts and the law. We answer

   his allegations below, but these issues do not relate to the inquiries for resolution of this motion:

   whether Trump has demonstrated (1) constitutional materiality to the precise order of the




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             Even while finding “ample indications of bad faith,” the Court in Soriano “question[ed]
   whether it makes any difference in this case whether we are addressing a colossal thoughtless
   blunder or if in fact there is reason to genuinely suspect motivation and deed.” Soriano, 401 F.
   Supp. 3d at 404-05. To the extent that Soriano can be read to permit dismissal of an indictment
   on the basis of unpreserved evidence absent a showing of bad faith, it is inconsistent with binding
   precedent from the Eleventh Circuit.



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   documents within boxes that indisputably belonged to him, and (2) bad faith on the part of the

   Filter Team. Wilchcombe, 838 F.3d at 1191-92.

          Trump begins by suggesting (ECF No. 612 at 22-23) that the Government has failed to

   comply with its discovery obligations as set forth in the Justice Manual. But the record makes

   clear that the Government takes those obligations very seriously and has more than satisfied them.

   As Justice Manual § 9-5.002(B) requires, the prosecutors have worked closely with the FBI to

   review the entire case file for discoverable materials, including investigative reports, witness

   interviews, electronic communications, inserts, emails, agent notes, and substantive case-related

   communications in whatever form.         With respect to timing, Trump wrongly suggests that

   prosecutors breach the Justice Manual unless they review and identify every item that is potentially

   discoverable “at the outset of [the] case.” ECF No. 612 at 23. To the contrary, the Justice Manual,

   the case law, and Rule 16(c), make clear that the Government’s discovery obligations are

   continuing, and the Government has continued to review and produce additional materials as

   required, including potentially exculpatory information and early Jencks Act materials. The agent

   notes on which Trump relies here (ECF No. 612 at 23) were supposed to be on a disc whose

   contents were produced to the defense in February 2024—months before the defendants raised the

   precise ordering of the documents in the boxes as a defense—but the notes were not produced in

   the February production due to a technical problem in the file transfer process that was not

   discovered until May. In any event, after the defendants made their requests, the Government

   discovered the error and produced the notes well in advance of trial and in full compliance with

   the Government’s obligations.       See Justice Manual § 9-5.001(D) (requiring production of

   exculpatory information “in sufficient time to permit the defendant to make effective use of that

   material at trial” and “reasonably promptly after it is discovered.”).




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          Trump’s overreaching in his additional arguments betrays the weakness of his claims. For

   example, Trump suggests (ECF No. 612 at 23) that there was some impropriety in potentially

   privileged materials being moved to the top of a box for filter agents in Washington to review. But

   these were potentially privileged materials, not documents called for by the warrant—and as is

   readily apparent, the entire point of the Washington review was to more carefully evaluate any

   potentially privileged materials before any release to the Case Team. As Trump well knows, there

   was nothing wrong with the Filter Team’s actions in this respect, and certainly nothing

   exculpatory.

          Trump also criticizes the Government (ECF No. 612 at 7-8) for “misrepresent[ing] to the

   Court that the order of the documents within each box was intact” and mentions statements by

   Government counsel at hearings on March 1 and April 12, 2024. Neither was a deliberate

   misrepresentation—when the Government makes an inadvertent or unclear representation, it will

   correct or clarify the record, as it has done previously in this case. As the Government reported

   itself to the Court, ECF No. 522 at 8 n.3, Government counsel was not aware at the April 12

   hearing that the order of materials in some boxes had been disturbed after the scanning process.

   And with respect to the March 1 hearing, the Government did not intend its response to the Court’s

   questions. as a categorical representation that the precise order of all items in the boxes had been

   preserved.

          Perhaps realizing that he has no evidence of bad faith on the part of the agents, Trump also

   seizes on the Eleventh Circuit’s noting in Revolorio-Ramo that there was “no allegation of official

   animus” to argue that any official animus he claims exists, from any source, is properly part of the

   bad-faith inquiry here, “should fact finding be necessary.” ECF No. 612 at 21. In the first place,

   as briefed elsewhere, ECF No. 375 at 21-25, there is no evidence of “animus” or improper or




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   vindictive motivations by anyone, and certainly not by the agents who conducted the search.

   Second, as discussed elsewhere, in advance of the search and in consultation with prosecutors, the

   FBI made a careful plan for the entire operation, that included choosing a date when neither Trump

   nor his family would be in Florida, consulting Trump’s counsel before the warrant was executed,

   and use of a Filter Team protocol. ECF No. 592 at 4; Ex. 1 at ¶¶ 81-84. The advance planning of

   these steps, their execution in fact, and the litany of additional protocols and precautions that were

   taken in connection with this search—labeling each and every box in the storage room prior to the

   search in order to be able to identify from which box each seized item came; employing later, off-

   site, careful review of potentially privileged materials before releasing any to the Case Team;

   preserving box-to-box integrity; and taking photographs of the searched areas both pre-search and

   post-search—are all utterly inconsistent with bad faith. In short, this search was conducted

   lawfully, professionally, efficiently, and respectfully. Trump proffers no evidence of bad faith,

   because there was none.

                                             CONCLUSION

          For the foregoing reasons, Trump’s motion should be denied without a hearing.


                                                  Respectfully submitted,

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   June 24, 2024


                                   CERTIFICATE OF SERVICE

          I hereby certify that on June 24, 2024, I electronically filed the foregoing document with

   the Clerk of the Court using CM/ECF, which in turn serves counsel of record via transmission of

   Notices of Electronic Filing.


                                               /s/ Jay I. Bratt
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